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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                              FORT MYERS DIVISION

UNITED STATES OF AMERICA

vs.                                            Case No. 2:02-cr-96-FTM-29DNF

KENT GEORGE SAWYER


                              OPINION AND ORDER
      This matter is before the Court on defendant Kent George
Sawyer’s    pro     se   Motion    Under       18    U.S.C.   §    3582(c)(2)    for
Modification of Sentence by a Person in Federal Custody (Doc. #96)
filed on March 17, 2008.             The motion includes a request for
counsel.    Defendant seeks a reduction in his sentence in light of
Amendment 706 to the United States Sentencing Guidelines, which
reduces the base offense level for cocaine base offenses by two
levels.
                                          I.
      Title 18 U.S.C. § 3582(c) gives                  the court discretionary
authority   to     reduce    the   term    of       imprisonment    portion     of   a
defendant’s       sentence   under    certain         circumstances.       Section
3582(c)(2) provides in pertinent part:
      (c) The court may not modify a term of imprisonment once
      it has been imposed except that -
      . . .
      (2) in the case of a defendant who has been sentenced to
      a term of imprisonment based on a sentencing range that
      has subsequently been lowered by the Sentencing
      Commission pursuant to 28 U.S.C. 994(o), upon motion of
      the defendant or the Director of the Bureau of Prisons,
      or on its own motion, the court may reduce the term of
      imprisonment, after considering the factors set forth in
      section 3553(a) to the extent that they are applicable,
      if such a reduction is consistent with applicable policy
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        statements issued by the Sentencing Commission.

18 U.S.C. § 3582(c)(2).              The relevant United States Sentencing

Guidelines (U.S.S.G.) policy statement is U.S.S.G. § 1B1.10, as

amended by Amendment 713 and effective March 3, 2008.

        Reading 18 U.S.C. § 3582(c)(2) in conjunction with U.S.S.G. §

1B1.10(a)(1), the general requirements a defendant must establish

to be eligible for a reduction of the term of imprisonment are: (1)

Defendant had been sentenced to a term of imprisonment; (2) the

term of imprisonment was based on a sentencing range that has

subsequently been lowered by the Sentencing Commission pursuant to

28 U.S.C. § 994(o); (3) defendant is still serving the term of

imprisonment; and (4) the amendment to the Sentencing Guidelines

has been made retroactive by being listed in U.S.S.G. § 1B1.10(c)1.

Even    if   generally     eligible     for    a   reduction       in    the   term   of

imprisonment, a defendant must show that a reduction is consistent

with the policy statement in U.S.S.G. § 1B1.10.                    A reduction of a

term    of   imprisonment       is   not   consistent       with    the    Sentencing

Guidelines policy statement, and therefore is not authorized by §

3582(c)(2), if none of the retroactive amendments is applicable to

defendant,     U.S.S.G.     §   1B1.10(a)(2)(A),       or    if    the    retroactive

amendment     does   not    have     the   effect    of     lowering      defendant’s

applicable guideline range. U.S.S.G. § 1B1.10(a)(2)(B). Defendant

Sawyer satisfies all of these eligibility requirements and a


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       United States v. Armstrong, 347 F.3d 905, 909 (11th Cir. 2003).

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reduction in the term of imprisonment would be consistent with the

Sentencing Guidelines policy statement.

     While defendant is eligible for a reduction in the term of

imprisonment and such a reduction is not excluded by the Sentencing

Guidelines policy statement, the court must make two distinct

determinations before deciding whether and to what extent to reduce

a defendant’s term of imprisonment under § 3582(c)(2).            First, the

court must recalculate the sentence under the amended guidelines.

The court is required to determine the amended guideline range that

would   have   been   applicable    to   defendant   if     the   applicable

retroactive amendment had been in effect at the time defendant was

sentenced. U.S.S.G. § 1B1.10(b)(1). In making this determination,

the court “shall substitute only” the retroactive amendment for the

corresponding    guideline    provisions     there   were    applied    when

defendant was sentenced, and “shall leave all other guideline

application decisions unaffected.”        U.S.S.G. § 1B1.10(b)(1).       The

Court uses that new base level to determine what ultimate sentence

it would have imposed.      United States v. Bravo, 203 F.3d 778, 780

(11th Cir. 2000); United States v. Vautier, 144 F.3d 756, 760 (11th

Cir. 1998), cert. denied, 525 U.S. 1113 (1999).

     The second step is to decide whether, in its discretion, the

court will elect to impose the newly calculated sentence under the

amended guidelines or retain the original sentence.               Bravo, 203

F.3d at 781.     In making this decision, the court considers the

factors listed in § 3553(a) to the extent consistent with the

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Sentencing Guidelines policy statement.           Bravo, 203 F.3d at 781;

Vautier, 144 F.3d at 760.      The Court must also consider the nature

and seriousness of the danger to any person or the community that

may be posed by a reduction in defendant’s term of imprisonment,

U.S.S.G. § 1B1.10 cmt. n.1(b)(ii), and may consider post-sentencing

conduct of defendant occurring after the imposition of the original

term of imprisonment, Application Note 1(b)(iii).               While the two

steps are required, the court is not required to reduce defendant’s

sentence because that determination is discretionary. Vautier, 144

F.3d at 760; United States v. Cothran, 106 F.3d 1560, 1562 (11th

Cir. 1997); United States v. Vazquez, 53 F.3d 1216, 122728 (11th

Cir. 1995).

                                    II.

      At   the   original   sentence,      the    Court       determined   that

defendant’s Base Offense Level was 26, his Total Offense Level was

26,   his Criminal   History    Category    was   V,    and    the   Sentencing

Guidelines range was 110 to 137 months imprisonment.             Defendant was

sentenced to 110 months imprisonment. The application of Amendment

706 results in a Base Offense Level of 24, a Total Offense Level of

24, a Criminal History Category of V, and a Sentencing Guidelines

range of 92 to 115 months imprisonment.                The Probation Office

reports that defendant has had no disciplinary                  actions while

incarcerated and he has paid the special assessment.             Therefore, in

the exercise of its discretion, the Court will apply the Amendment



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706 reduction to defendant, and will impose a sentence at the low

end of the newly calculated Sentencing Guidelines range.

     Accordingly, it is now

     ORDERED AND ADJUDGED:

     1.     Defendant Kent George Sawyer’s pro se Motion Under 18

U.S.C. § 3582(c)(2) for Modification of Sentence by a Person in

Federal Custody (Doc. #96) is GRANTED as set forth below.

     2.     The Clerk of the Court shall enter an Amended Judgment

reducing the sentence imposed to 92 months imprisonment, and

otherwise    leaving   all   other   components    of   the   sentence   as

originally imposed.      This order is subject to the prohibition

contained within U.S.S.G. § 1B1.10(b)(2)(c) which provides that

“[i]n no event may the reduced term of imprisonment be less than

the term of imprisonment the defendant has already served.”.

     3. Defendant’s request for appointed counsel contained in the

Motion (Doc. #96) is DENIED.

     DONE AND ORDERED at Fort Myers, Florida, this            17th   day of

April, 2008.




Copies:
AUSA Barclift
Kent George Sawyer
U.S. Probation
U.S. Marshal


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